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                     EXHIBIT C
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                                                          PALM BEACH COUNTY SHERIFF'S OFFICE
                                                                  CENTRAL RECORDS
                                                                    MPTIONS/CONFIDENTIAL


r          1'19.071 (2)(c) Active criminal intellige                      igative   r                              entification Information (Fingerprints, palm
           Information

           1'19.071 (2)(e) Confession

           3€>!5.171 (15) Identity of 911                                                                    reports are confidential for period of 60 days after
           seHvice
           1 'I 9.071 (2)(d) Surveillance t niques, procedures, an                              (2)(h)(1) Identity of victim of sexual battery, lewd and
            inventory of law enforcement resources, policies or                         ascivious offense upon a person less than 16 years old, child abuse,
           to mobilization, deployment or tactical operati                              sexual offense

           1'I !rn71 (2)(1) Assets of crime victim                                  r   985.04(1) Juvenile offender records

                                                                                                               formation contained in a motor vehicle record
            119.071 (5)(a)(5) Social se

r                                                                                                               telligence/investigative infor
                                                                                                               ice agency



r          94

           1 'I!~.   d) Extra fee if request is voluminous or requires extensive    r
           pe,rsonnel, technology




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                                                                                                                    RIC L. BRADSHAW, SHERIFF




    Tracking 16-04-2729                 CN: 98-041883                                                                 Date: 04/25/2016
                                                                                                                                                  Revised 03/04/2011
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                        PALM         BE AC H  CO UN. TY SHER IF F' S OFFICE                PAGE   1
  CASE NO. 98041883                            0 FF ENS E REPORT                  CASE NO. 98041883
                                                                  DISPOSITION: INACTIVE
                                                                     DIVISION: ROAD PATROL
911: N                                  C O N F I D E N T I
SEXUAL                            *                   *                               *
SIGNAL                CRIME CODE: 1 NON CRIME CODE:                   110A 02/28/98       SATURDAY
ZONE: B71 GRID:   B      DEPUTY I.D.:   3257 NAME: BURES DAVID           ASSIST:     TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN Dl\.TE: 02/28/98 , 1630 HOURS AND DATE :                , ,QOOO HOURS
EXCEPTION TYPE:
INCIDENT LOCATIO
                             ,r:;;

NO . OFFENSES: 01 NO. OFFENDERS: 02 NO. VEHICLES STOLEN : 0 NO. PREMISES ENTERED:                    0
LOCATION: PARK/ WOODLANDSd FIELD
NO. VICTIMS: 01 NO. ARRESTED:      FORCED ENTRY: 0 WEAPON TYPE: HANDS/ FISTS

OFFENSE NO. 1   FLORIDA STATE              794 011        CIS CODE 110A

NAME LIST:




                                                                      EYE: BLUE
                                                                         FL 33417                HOME PHONE: 561 000-0066 1/j

SUSPECT                     KEVIN P THOMPSON                             05/15/1980
                   SEX: M RACE: W HT: 602 WT: 230 HR:                  EYE: BLUE
RESIDENTIAL ADDRESS: 12435 N 52              RD                ROYAL PALM FL 33411               HOME PHONE:561 000-0000
BUSINESS PHONE: 561 - 000-0000


    OFFENSE INDICATOR : .OFFENSE 1         VICTIM NUMBER: 1
VICTIM TYPE: JUVENILE •
RESIDENCE TYPE: COUNTY       i Rli:SIDENCE STATUS: FULL YEAR
EXTENT OF INJURY: NONE      I        _,··
INJURY TYPE(l): NOT APPLICABLE ,
INJURY TYPE(2): NOT APPLICABLE
VICTIM RELATION: ACQUAINTANCE


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                                                                           RIC LA~RADSHAW, SHERIFF



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       NO. 98041883                           0 F FENS E REPORT                 CASE NO. 98041883
                                                                DISPOSITION: INACTIVE


    REPORT NUMBER: 1
FLORIDA V~CTIM? N
WEATHER: CLOUDY
WITNESS TO CRIME KNOWN ? . N             SUSPECT NAME KNOWN? ...
CAN VICTIM I.D. SUSPECT? Y               SUSPECT LOCATION KNOWN      N
WILL VICTIM PROSECUTE ? . . Y            STOLEN PROPERTY TRACEABLE?
IS M.O. SIGNIFICANT?                     EVIDENCE LEFT AT SCENE? ...
LATENTS LIFTED? ...                      SUSPECT'S VEHICLE KNOWN? .. N
TAG NUMBER KNOWN ? ..                    PROPERTY DAMAGE? .......... N


                           8 AT 1600 HOURS I RESPONDED TO A CONFIDENTIAL L CATIO
            REFERENCE A COMPLAINTOF SEXUAL BATTERY.
                 UPON ARRIVAL I\MET WITH THE ON-DUTY COUNSELOR, WHITE FEMALE,
                      DOB 122864. M            STATED, EARLIER IN THE DAY SHE
            ONE OF THE OCCUPANTS               HOME THAT THE OCCUPANT WAS RAPED APPROX!-"
            MATELY                         AGO AT AN UNKNOWN LOCATION IN LOXAHATCHEE.
                     IDENTIFIED THE VIqTIM AS WHITE FEMALE,                n.
                 I THEN MET WITH MS.         , WHO STATED THAT APPROXIMATELY THREE AND
            HALF WEEKS AGO SHE WAS PIC        FROM HER BOYFRIEND'S HOUSE (WHICH IS IN
            CITY OF ROYAL PALM BEACH, FLORIDA), BY TWO WHITE MALE ACQUAINTANCES OF HERS.
                     STATED THAT BOTH WERE IN THEIR TWENTIES. L, , : '. <: ~REFUSED TO PROVIDE
            IDENTIFICATION OR A DESCRIPTION OF THE TWO WHITE MALES.
                  r:.~,;:';);;i
                          STATED THAT SHE WAS DR      BY THE TWO WHITE MALES TO A WOODED
            AREA SOMEWHERE IN LOXAHATCHEE. SHE      O STATED THAT THEY ALL CONSUMED ALCOHOL
            AND SMOKED MARIJUANA, AND THAT MS.           WAS INTOXICATED DURING THIS
            INCIDENT.
                          STATED ONCE THE VEHICLE WAS                   WOODED AREA, BOTH WHITE
            MALES HAD FORCED SEXUAL INTERCOURSE WITH                    .-~;;,::: ill STATED SHE DID
            RESIST BOTH WHITE MALES BY STATING TO THEM, N
                          r:~r!
                          STATED AFTER THE SEXUAL INTERCOURS        OF THE WHITE MALES WAS
            DROPPED OFF, AND SHE WENT HOME WITH THE OTHER WHITE MALE TO HIS RESIDENCE AT
            AN UNKNOWN LOCATION. MS. 1111111 STATED ONCE IN THE>BEDROOM OF THE RESIDENCE,
            ONCE AGAIN THE WHITE MALE HAD FORCED SEXUAL INTERCOURSE WITH HER.
            STATED THAT SHE WAS NOT INJURED AS A RESULT.
                 WHEN/ASKED ONCE AGAIN TO PROVIDE INFORMATION ON THE IDENTITY OR THE
            DESCRIPTION/OF THE SUSPECTS, SHE REFUSED. SGT. ST. CYR, ID 359, WAS NOTIFIED
            AND RESPONDED. THE DETECTIVE BUREAU WAS NOTIFIED. THEY STATED/THEY WOULD
            CONDUCT A FOLLOW-"UP REFERENCE THIS CASE. CASE INFORMATION WAS GIVEN. THE
            DISPOSITION IN THIS CASE WILL BE CLASSIFIED AS INACTIVE PENDING FURTHER


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                                                              DISPOSITION: INACTIVE

            INVESTIGATIVE LEADS. END OF NARRATIVE.
                D. BURES/ID 3257/TRANS: 3/3/98/PS/#754if
                  2/28/98/1730 HRS.


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                          P A L M B E A C H        C O U N . T Y S H E R I F F' S O F F I C E          PAGE , >> 1
        NO. 98041883          SUPPLEMENT  1         0 F F >E NS E REPORT                       CASE NO. 98041883
                                                                               DISPOSITION: OPEN
                                                                                  DIVISION: DETECTIVE
911: 'N.                                    C O N F I D E N T I /A . L
SEXUAL" BAT";l'.ElRY                 *                       *                           *
SIGNAL CODE;:            CRIME CODE:       NON CRIME CODE:                          03/31/98     SATURDAY
ZONE: B71   GRID:           DEPUTY I.D . :    3553 NAME: ARNOLD                            TIME D 1603 A 1618 C 1705
OCCURRED BETWEEN DATE : 02/28/98 , 1630 HOURS AND DATE:                           0000 HOURS
EXCEPTION TYPE:
INCIDENT LOCATION : <                                                       APT. NO. :
                   CITY:                              STATE:                ZIP::'.'
                                                                                         11
NO. OFFENSES: 01 N0. <9~FENDERS: 02 NO. VEHICLES STOLEN: 0 NO. PREMts:E$ ENTERED: 0
LOCATION: PARK/ WOODLAND
NO. VICTIMS: 01 NO. ARRE           FORCED ENTRY: 0 WEAPON TYPE: HANDS/ FISTS/ FEET

OFFENSE NO . 1   FLORIDA STATE ,,STATUTE :       794 011         CIS CODE 110A


                  ON 3-12-98, I RECEf;'ltD A CALL FROM MRS. -        !l~.: ~:~!il;i INQUIRYING WHO ;
              WOULD BE INVESTIGATING . HER DAUGHTER'S SEXUAL BATTERY INVESTIGATION. I
              CHECKED THE SIU LOG AND FOUND THAT THE CASE HAD NOT BEEN ASSIGNED. I
              WAS NEXT UP ON THE CASE ROTATION LIST SO I ASSIGNED THE CASE TO MYSELF
              As sGT . sToRMEs WAs OFF . MRi/r;J,~if'SI TOLD ME THAT HER DAUGHTER Is
              CURRENTLY RESIDING AT A CONFIDENTIAL LOCATION AND THAT I SHOULD
              CONTACT  •.a   ;;'lilll TO SPEAK WIT.H HER DAUGHTER.
                  ON 3-13-98, I CALLED                   T (CONFIDENTIAL LOCATION) TO SET UP
              AN INTERVIEW APPOINTMENT WITH                  Jl~~lt~, .
                                                                    llli!tl IS NOT AVAILABLE AND
              I LEFT A MESSAGE FOR HER TO PLEASE CALL        BACK .
                  ON 3-16-98, I RECEIVED A MESSAGE FROM llfl!:A!i. I CALLED HER BACK AND
              SHE WAS NOT AVAILABE . ON 3-17-98, I LEFT. FOR A CONFERENCE IN HUNSTVILLE,
              ALABAMA AND DID NOT RETURN TO WORK UNTIL ·3
                  ON 3-24-98, I AGAIN CALLED
                 APPOINTMENT WITH 111\'l"f.'.'(j                           NOT AVAILABLE AND I
                   A MESSAGE.
                      3-30-98 I WAS ABLE TO MAKE CONTACT WITH &           !· - AND WE SET UP
                 INTERVIEW FOR ■.Siil        -      ON 3-31-98 AT 2 : 30PM.
              DET. ~OLD/3553
              RAMIREZ/4213/4-21-98


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  CASE NO . 98041883      SUPPLEMENT 2         0 F F ';E NS E REPORT                 CASE NO. 98041883
                                                                     DISPOSITION: OPEN
                                                                        DIVISION: DETECTIVE
                                        C O N F I D E N Ti, I L
SEXUAL BATTERY                      *                       *                      *
SIGNAL CODE:           CRIME CODE:       NON CRIME CODE:                                    SATURDAY
ZONE: B71 GRID:           DEPUTY I. D. :    3553 NAME: ARNOLD                          TIMED 1603 A 1618 C 1705
OCCURRED BETWEENDATE: 02/28/98 , 1630 HOURS AND DATE :                             HOURS
EXCEPTION TYPE:: •
INCIDENT LOCATION: . •.                                               APT. NO.:
             CITY :                                 STATE :           ZIP : '

NO . OFFENSES : 01 NO : <OFFENDERS : 02 NO. VEHICLES STOLEN: 0 NO . PREMI~E,S .,ENTERED :  0
LOCATION : PARK / WOODLANDS .,/ FIELD
NO . VICTIMS : 01 NO . ARRESirED: ' 0 FORCED ENTRY: 0 WEAPON TYPE : HANDS/ FISis)     FEET
                           ,;)i,   •


OFFENSE NO. 1   FLORIDA STATE ST~TUTE:      794 011        CIS CODE 110A


                  ON 3-31 - 98 AT 3: 00PM, • I INITIATED A SWORN TAPED STATEMENT WITH        -~'!1;1::1
                       IN REFERENCE TO A SEXUAL BATTERY INVESTIGATION.                         •
                             . , . HAD A VERY QUIET DEMEANOR AND AT TIME SEEMED VERY
             RELUCTANT TO DISCUSS SENSITIVE . FACTS ABOUT THIS CASE, WHICH IS NOT
             UNU                      TIME WA      •OTIONAL AND CRIED DURING THE INTERVIEW .
                                      SAID THAT SHE,, MET THE SUSPECTS FROM THIS INCIDENT
             AT A PARTY SEVERAL WEEKS PRIOR TO/ THE ASSAULTS, WHICH OCCURRED SOMETIME
             AROUND THE 1ST OF FEBRUARY.        ON THE NIGHT OF THE ASSAULT,
             -         WAS AT HER BOYFRIEND'S HOUSE PLAYING VIDEO GAMES
             DOES NOT WANT TO DISCLOSE THE IDENTITY OF HER BOYFRIEND AT THIS TIME) .
                  THE SUSPECTS PULLED UP TO _ .., S B(?;:t'FRIEND' S HOUSE AT APPROXIMATELY
             10: 00PM ON THE DATE OF THE ASSAULT AND ASKED·•. HIM IF HE WANTED TO GO OUT
             DRINKING.    -        BOYFRIEND COULD NOT GO;, BUT HE TOLD THE SUSPECTS THAT
                        WAS THERE THAT SHE HAD RUN AWAY. , '' SUSPECTS CAME INSIDE OF THE
                                                IF SHE WANTED TO ,.GQ DRINKING WITH THEM.     AS
             STATED EARLIER,               HAD MET THE SUSPECT BEFORE AND SHE SAID SHE FIGURED
             IT WOULD MEAN FREE DRINKS SO SHE DECIDED TO GO. •             ·
                  f~;i1191 ... _       SAID THAT SHE AND THE SUSPECTS ' DRANK FOR ABOUT FIFTEEN
             MINUTES . AT HER BOYFRIEND'S HOUSE PRIOR TO LEAVING .       illli,_;fil SAID THAT SHE
             DRANK A FEW SHOTS OF EITHER TEQUILLA OR VODKA BEFORE THEY LEFT .            ONCE IN THE
             CAR, If~         SAID THAT SHE HAD ABOUT FIVE BEERS AND SHE WENT ON TO TELL ME
             THAT SHE BECAME VERY DRUNK.
                     flilalll
                   I ASKED             WHICH OF THE TWO SUSPECTS WAS DRIVING THE,, .CAR AND SHE



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                                                                        DISPOSITION: OPEN

           REPLIED "KEVIN" (UNKNOWN LAST NAME).                                        SHE AND THE TWO
           SUSPECTS ARRIVED AT A WOODED AREA IN                                CALLED "WOODSIES". I ASKED
                           FOR A DESCRIPTION OF KEVIN'S CAR                      AID THE CAR HAD "NORMAL
                    "LIKE VELVET, WHICH INDICATES THEY PROBAB                     RE CLOTH SEATS.
                           SAID THAT SHE DID NOT KNOW THE MAKE OR MODJilI,<OF THE CAR, BUT SHE
                    THAT IT WAS AN OLDER CAR, EITHER PURPLE OR MAROON IN COLOR.
           DID NOT KNOW IF IT WAS A TWO DOOR OF FOUR DOOR OR ANY OTHER INFORMATION.
                                    FOR A DESCRIPTION OF KEVIN AND SHE SAIO THAT HE IS A WHITE
                                   ELY TWENTY-THREE YEARS OF AGE, LONG BLONDE HA.IR, MODERATELY
                                   OXIMATELY 5'11, WITH A DIRTY BLONDE GOATEE AND DIRTY BLONDE
                                          SAID THAT THE SUSPECT NEVER MENTIONED A PLACE OF
                                          E DURING THEIR CONVERSATION.
                                           AT THIS TIME SAID SHE DID NOT FEEL COMFORTABLE
                                             ER 2 BECAUSE SHE IS CLOSE FRIENDS WITH HIS BROTHER
                                          ULD JEOPARDIZE THAT FRIENDSHIP.
                                       AT "THE WOODSIES" liflli11il~!illl!l SAID THAT SHE PASSED OUT. WHEN
           SHE AWOKE, SHE WAS LYING ON THE FRONT SEAT OF KEVIN'S CAR WITH HER PANTS
           AROUND HER ANKLES AND SUSPEQT NUMBER 2 (THE UNIDENTIFIED SUSPECT) ON TOP
           OF HER ENGAGING IN FORCED rVAGINAL INTERCOURSE. f:i;~f::;ij SAID THAT KEVIN
            (SUSPECT          WAS ATTEMPTING TO .FORCE HER TO PERFORM ORAL SEX ON HIM.
                                                              WOULD TAKE TURNS FORCING VAGINAL
           INTERCOURSE ON HER.            I ASKED              ABOUT SUSPECT NUMBER 1 FORCING ORAL
           SEX ON HER AS SHE PREVIOUSLY                         AND SHE SAID THAT HE FORCED THE HEAD
           OF HIS PENIS IN HER MOUTH. iii&lifl SAID THAT SHE TOLD THE SUSPECTS THAT
           SHE WAS TIRED AND THAT SHE DID NOT WANT TO PARTICIPATE IN THIS ACTIVITY.
           [ '.i.["7,~:::1 WENT ON TO TELL ME THAT SHE WAS HAVING HER PERIOD DURING THE ASSAULT
           AND SHE REMEMBERS WAKING UP AND FINDING HER PANTS AROUND HER ANKLES AND
           SHE HAD A FEMININE PAD INSIDE OF HER.                              SAID THAT SHE REMEMBERS
           TELLING THE SUSPECTS SOMETHING TO THE EFFECT OF "YOU'RE HAVING SEX WITH ME
              ILE I'M ON MY PERIOD AND THAT'S GROSS".
                    I ASKED lf,~ffflmt1J~! IF THE SUSPECTS SAID ANYTHING WHILE THIS WAS HAPPENING
                   SHE THEN SAID THAT SHE REMEMBERS THEM SAYING SOMETHING STUPID LIKE,
           ARE YOU HAVING FUN BABY. tyi;~\¾1Jji'iiJw'i~i:i ALSO SAID KEVIN WOULD LAUGH AND MAKE
           STUPID COMMENTS TO HER DURING THE ASSAULT.
                    I ASKED                                ITHER OF THE SUSPECTS USED PROTECTION AND
           SHE SAID THEY DID NOT.                           S UNSURE IF EITHER.OF THE SUSPECTS
                             INSIDE OF HER.                  ESTIMATED THAT THE AS AULT PROBABLY
                                 FIVE TO SEVEN HOURS.
                                 REPORTED THAT KEVIN (SUSPECT #1) FORCED SE                INTERCOURSE
           WITH HER AT LEASTONE TIME, BUT WAS UNSURE OF ANY ADDITIONAL ENCOUNTERS.
                           SAID<.THAT           #2 (UNIDENTIFIED SUSPECT) FORCED SEXUAL I.NTERCOURSE


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                                                                            DISPOSITION: OPEN

           ON HER MORE THAN TWICE.
                                                   THE WOODED AREA,                 RETURNED WITH SUSPECT #2
                        RESIDENCE WHERE HE HAD SEXUAL INTERCOUR                     H 11■1111         SUSPECT #2
                                       THAT IT WAS HER TURN, (MEANING SHE       S TO BE ON TOP DURING
                        INTERCOURSE) . ~~t'~(~;,t;:~jfl)j TOLD HIM SHE WAS TO() ... TIIIBD TO DO ANYTHING.
                          SAID THAT SUSP~CT 12 PARENTS AND BROTHER'WERE HOME AT THE TIME OF
           THE EN<::()UNTER AT HIS RESIDENCE. ,,''}'13:0 1 '.·•\; SAID THAT HE~ FRIEND (SUSPECT #2' S
           BROTHER) SAW HER INSIDE OF THE RESIDENCE IN THE MORNING.
                    I ~~KE!) [::,u:;;:z;d IF SHE TOLD ANYONE WHAT HAPPENED A!-1[)$1lE SAID SHE
           TOLD HER\BOYFRIEND THAT SHE HAD CONSENTED TO SEXUAL INTERCOURSE
           SUSPECTS. I ASKED
           ITEMS BACK FROM.KEVIN'S CAR. SHE SAID SHE IS MISSING A CLE
           PURSE WITH BLACK T                  WHICH CONTAINED MAKEUP AND OTHER PERSON
                          DOES NO                ER IF ANY OF HER CLOTHES WERE LEFT IN KEVIN)$
           CAR.
                    IN CONCLUDING THE INTERVIEW, I ASKED                        IF ANYTHING ELSE HAPPENED
           THAT WE DID NOT DISCUSS AND SHE SAID "THEY PERFORMED ORAL SEX ON ME". I
           ASKED j;::~&- IF BOTH SUSPECTS DID THIS AND SHE REPLIED "KEVIN DID, I
           DON'T REMEMBER IF JOSH DID" . WITH THAT LAST QUOTE,                                 INADVERTENTLY
           IDENTIFIED SUSPECT NUMBER #2 AS JOSH. AT THE TIME
           NAME, SHE DID NOT REALIZE IT.
                    I ASKED 11::']l]II         ABOUT THE BEER THE SUSPECTS GAVE HER AND SHE SAID
           THAT THEY GAVE HER FIVE BOTTLES OF BEER AND SHE SAID IT WAS EITHER MICHELOB
           OR BUSCH.
                    I ASKED (11.,::':..f:JI    IF THE SUSPECTS GAVE HER ANY DRUGS AND SHE REPLIED
           "MARIJUANA". I ASKED HER WHO GAVE HER MARIJUANA AND SHE REPLIED "JOSH".
           ft.;,i.&~,.ffB THEN REALIZED THAT SHE HAD IDENTIFIED JOSH AS THE OTHER SUSPECT
           AND SHE BECAME VERY UPSET WITH HERSELF AND STARTED TO CRY.                          I ASKED
                           HOW MUCH POT SHE SMOKED AND SHE                 A COUPLE OF JOINTS. THIS
           CONCLUDED THE INTERVIEW AND I SWORE                            IN AGAIN AFTER THE INTERVIEW TO
           CONFIRM THAT ALL THE INFORMATION SHE HAD GIVEN WAS THE TRUTH AND SHE SWORE
           THAT IT WAS.
                    ON 4-1-98 AT 1515HRS, I SPOKE WITH MRS.                                ABOUT MY INTERVIEW
           WITH ;;,1r~;i;;zcft\l\1llj;   I ASKED HER IF SHE COULD PROVIDE                 • s BOYFRIEND• s NAME
           AND SHE SAID THAT SHE WOULD FIND HIS NAME AND CALL ME BACK.
                    AT 1535HRS ON 4-1-98, MRS. I?I}t~:t;'\%;r,\.(1 CALLED ME BACK WITH          ..,."'
           BOYFRIEND'S NAME. MRS . [:;'. •t.'..~j SAID HIS NAME IS TONY FIGUEROA AND HIS
           PHONE NUMBER IS 792-9076.                 MRS. ;irj:fj~~:~ ALSO SPOKE ABOUT HER DAUGHTER'S
           PAST DRUG ABUSE AND ALSO HOW MANY KIDS IN ROYAL PALM BEACH ARE INVOLVED IN
           DRUGS, WITCHCRAFT AND ANIMAL SACRIFICE . MRS . ~tfn{J'fi'if SAID THAT SHE HAS
           ATTEMPTED TO DISCUSS THE DRUG PROBLEM WITH THE PRINCIPAL AT ROYAL


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                                                                DISPOSITION: OPEN

           BEACH HIGH SCHOOL AND SHE SAID THAT SHE HAS.HAD LITTLE SUCCESS IN CONVINCING
                PRINCIPAL THERE IS A PROBLEM. FURTHER FOLLOW UP INVESTIGATION ON THIS
                   WILL BE FORTHCOMING, THEREFORE CASE REMAI:N$ CLASSIFIED AS OPEN .
              .... ARNOLD/3553
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                                  P A L M B E A C H  C O U N ·T Y S H E R I F F' S O F F I C E          PAGE   c,l
  CASE NO. 98041883                   SUPPLEMENT  3   0 FF ENS E       REPORT                   CASE NO. 98041883
                                                                                DISPOSITION: OPEN
                                                                                   DIVISION: DETECTIVE
                                               C O N F I D E N T?.I .A L
                                           *                         *                          *
SIGNAL CO              CRIME CODE:     NON CRIME CODE:                                   06/16/98      SATURDAY
ZONE: B71                 DEPUTY I.D.:    3553 NAME: ARNOLD                            SSIST:     TIMED 1603 A 1618 C 1705
                    DATE: 02/28/98 , 1630 HOURS AND DATE:                             , 0000 HOURS
EXCEPTION TYP
INCIDENT LOCATION:                                                               APT. NO.:
              CITY:.c·                                      STATE:               ZIP:Y'
                         _:;:-+    ?
NO. OFFENSES: 01 NO . :COFFENDERS: 02 NO. VEHICLES STOLEN:  0 NO. PREM~•S ES ENTERED : 0
LOCATION: PARK / WOODLANDS ;j .F IELD
NO . VICTIMS: 01 NO. ARRESTED : '· 0 FORCED ENTRY: 0 WEAPON TYPE: HANDS/ FI~TS / FEET

OFFENSE NO. 1    FLORIDA STATE STATUTE:           794 011            CIS CODE 110A


                   INVESTIGATIVE EFFORTS TO IDENTIFY THE LAST NAME OF SUSPECTS IN THIS
              CASE HAVE MET WITH NEQ\.TIVE .cRESULTS AT THIS TIME. IT SHOULD BE NOTED THAT
              IT IS DIFFICULT TO MAKE CQNTACT WITH THE VICTIM BECAUSE
              SHE IS HOUSED AT A CONFIDENTIAL / LOCATION AND CALLS TO
              THE PATIENTS ARE STRICTLY Lfi.tl:TED.
                   FURTHER INVESTIGATION WILL BE ,,FORTHCOMING.
              DET. ARNOLD/3553                      ''
              RAMIREZ/4213/6-29-98


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        Case 1:15-cv-07433-LAP
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, CASE NO. 98041883                SUPPLEMENT 4                        0 F F 'E NS E REPORT                  CASE NO. 98041883
                                                                                            DISPOSITION : OPEN
                                                                                               DIVISION : DETECTIVE
911: N                                                             CONFIDENT I . AL
SEXUAL BATTERY                   *                      *                                                       *
SIGNAL CODEC:        CRIME CODE:     NON CRIME CODE:                                                                     SATURDAY
ZONE: B71    ID:        DEPUTY I.D.:    3553 NAME: ARNOLD                                                           TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN DATE: 02/28/98 , 1630 HOURS AND DATE :                                                         HOURS
EXCEPTION TYPE:
INCIDENT LOCATION:                                                                                APT. ;NO.:
              CITY:·                            STATE :                                           ZIP:
                                 ,. ';
                      .';'.;_:           .""

NO . OFFENSES : 01 No : ;.,QFFENDERS: 02 NO . VEHICLES STOLEN: 0 NO . PREMISES ENTERED :                                           0
LOCATION : PARK / WOODLANDS ,,/;.,,FIELD
NO . VICTIMS: 01 NO . ARRESTJ/:~_: ' 0 FORCED ENTRY: 0 WEAPON TYPE : HANDS / FISTS

OFFENSE NO. 1   FLORIDA STATE ST~ TUTE:                               794 011         CIS CODE 110A
                                               /, (:(.:)\;·'° _,

                   WHILE CONDUCTING FOLLOW UP INVESTIGATION IN AN ATTEMPT TO OBTAIN TUE
             LAST NAMES OF THE SUSPE:CTS IN THIS CASE, I WAS REFERRED TO A SUBJECT B't
             THE NAME OF NICHOLAS SILVAGE AS THE PERSON WHO MIGHT KNOW THE LAST NAME
             OF A SUBJECT IDENTIFIED ONLY.,~ /,JOSH IN THE REPORT.
                   ON 7-29- 98, I RESPONDElYTO THE MCDONALDS RESTAURANT IN ROYAL PALM
             BEACH WHERE I MADE CONTACT WITH NIC:HOLAS SILVAGE (7 - 6-81). I ASKED SILVAGE
             IF HE WAS FAMILIAR WITH ANY SUBJ:i;:_CTS BY THE NAME OF JOSH.  HE INDICATED THAT
             HE KNEW A SUBJECT BY THE NAME OF ''JOSH BUNNER . SILVAGE INDICATED THAT JOSH
             WAS APPROXIMATELY EIGHTEEN YEARS OF Ag E -,,AND THAT HE IS APPROXIMATELY
             SIX FEET TALL , 180LBS . PALMS SHOWS A LAST KNOWN ADDRESS OF 15396 SAN DIEGO
             DR. FOR JOSH'S BROTHER, NICHOLAS BUNNER . ~11'FORST WILL BE MADE TO ATTEMPT TO
             LOCATE AND INTERVIEW JOSH BUNNER IN REGARDS '' TO THIS INVESTIGATION . PRIOR TO
             SPEAKING TO BUNNER THOUGH, I AM ATTEMPTINp . !,cf OBTAIN A PHOTO OF HIM SO I
             CAN PRESENT A PHOTO LINEUP TO THE VICTIM To ' co~IRM THAT THIS IS THE
             PERPETRATOR OF HER CRIME BEFORE HE IS INTERVI.EWED IN REGARDS TO THE
             ALLEGATIONS . FURTHER INVESTIGATIVE LEADS WILL ~E FORTHCOMING, THEREFORE CASE
             REMAINS CLASSIFIED AS OPEN.
             DET i ARNOLD/3553
             RAMIREZ/;4213/8-6-98


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        Case 1:15-cv-07433-LAP
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                       PALM BEACH              COU           SHER IF F' S OFFICE               PAGE    1
       NO. 98041883      SUPPLEMENT 5           0 F         SE REPORT                  CASE NO. 98041883
                                                                       DISPOSITION: OPEN
                                                                          DIVISION: DETECTIVE
911: N                               C O N F I D E N             L
SEXUAL BATTERY                  *                     *                            *
SIGNAL CODE:        CRIME CODE:     NON CRIME CODE:                                         WEDNESDAY
ZONE: B71 GRID:        DEPUTY I.D.:    3553 NAME: ARNOLD                               TIMED 1603 A 1618 C 1705
OCCURRED BE      DATE: 02/28/98 , 1630 HOURS AND DATE:                             HOURS
EXCEPTION TYP:
INCIDENT LOCATION:                                                    APT.
                                               STATE:                 ZIP

NO. OFFENSES: 01 NO. OFFENDERS: 02 NO. VEHICLES STOLEN: 0 NO. PREMISES ENTERED: 0
LOCATION: PARK/ WOODLAND~)fFIELD
NO. VICTIMS: 01 NO. ARRESTED: 0 FORCED ENTRY: 0 WEAPON TYPE: HANDS/          FEET

OFFENSE NO. 1   FLORIDA STATE              794 011          CIS CODE 110A


                        ON AUGUST 11, 1998 AT APPROXIMATELY 1800 HOURS I RESPONDED TO
            CONFIDENTIAL LOCATION), WHERE I MADE CONTACT WITH
            f1ffli\,i!~:,:i~ IN REGARDS TO SHOWING HER A PHOTO LINEUP OF A POSSIBLE SUSPECT IN
            HER SEXUAL BATTERY CASE.
                        I PRESENTED r,~-_;:::Y;-~ A PHOTO LINEUP CONTAINING SIX YOUNG WHITE MALES
            AND ASKED HER IF THE PERTETRATOR OF HER CRIME WAS IN THIS PHOTO LINEUP AND
            ~~:\.: ,ll IMMEDIATELY BECAME EMOTIONALLY UPSET AND POINTED TO THE
            SUBJECT IN THE NUMBER FOUR POSITION OF THE PHOTO LINEUP. IT SHOULD BE NOTED
            THAT THE SUBJECT IN POSITION NUMBER FOUR OF THE PHOTO LINEUP IS JOSHUA
            B. BUNNER (WHITE MALE, 10/02/79). BASED ON THE FACT THAT THE VICTIM HAS MADE
            A POSITIVE IDENTIFICATION THAT JOSH BUNNER IS ONE OF THE SUBJECTS THAT RAPED
            HER ON OR ABOUT FEBRUARY 1, 1998, I WILL                    T TO LOCATE BUNNER AND CONDUCT
            AN INTERVIEW WITH HIM IN REGARDS TO THIS CA                                            IS
              OCATED AND AN INTERVIEW IS CONDUCTED, THE                       REMAIN CLASSIFIED AS
              PEN.
                        BART ARNOLD ID #3553
                            08/17/98/DAW/#3495


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  CASE NO. 98041883      SUPPLEMENT 6     0 FF ENS E REPORT                 CASE NO. 98041883
                                                            DISPOSITION: OPEN
                                                               DIVISION: DETECTIVE
                                      CONFIDE N T: I AL
SEXUAL BATTERY                    *                     *                           *
SIGNAL CODE:          CRIME CODE:     NON CRIME CODE:                                        WEDNESDAY
ZONE: B71 Gl:UD:         DEPUTY I.D.:    3553 NAME: ARNOLD                              TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN DATE: 02/28/98 , 1630 HOURS AND DATE:                              HOURS
EXCEPTION TYPE:
INCIDENT LOCATION:                                                    APT . .NO.:
              CITY: ·                            STATE:               ZIP:t

NO . OFFENSES: 01 No . <:oFri:NDERS: 02 NO. VEHICLES STOLEN: 0 NO. PREMISES ENTERED: 0
LOCATION: PARK / WOODIAND~,;'/ ,,FIELD
NO. VICTIMS: 01 NO. ARRES;TED :·· 0 FORCED ENTRY: 0 WEAPON TYPE: HANDS / FISTS/ FEET

OFFENSE NO. 1   FLORIDA STATE            794 011           CI$ CODE 110A


                 AS REPORTED IN THE/PREVIOUS SUPPLEMENT,                      MADE A
            POSITIVE IDENTIFICATION THATJOSH BUNNER WAS ONE OF THE SUBJECTS THAT
            RAPED HER ON/OR ABOUT MARIJH 1ST, 1998. THE PBSO PALMS COMPUTER SHOWED A
            CURRENT ADDRESS OF BUNNER FOR . 1§396 SANDIEGO DR. IN LOXAHATCHEE.
                 ON 8-13-98, I RESPONDEb. TOTHAT ADDRESS IN AN ATTEMPT TO MAKE CONTACT
            WITH BUNNER. THERE WAS A LOCKED ~:rE AND NO ONE APPEARED TO BE HOME.
            I CONTACTED PBSO DISPATCH TO SEE,,.IF THEY COULD FIND A NUMBER FOR THE
            RESIDENCE AND THIS MET WITH NEGATIVE RESULTS.      I LEFT MY BUSINESS CARD
            AT THE RESIDENCE WITH A NOTE TO HAVE JOSH CALL ME AT THE SHERIFF'S OFFICE.
                 ON 8-17-98 AT APPPROXIMATELY 3 :30PW; I AGAIN RESPONDED TO 15396
            SANDIEGO DR. IN AN ATTEMPT TO MAKE CONTACT WITH JOSHUA BUNNER AND THIS
            TIME I WAS SUCCESSFUL. I ASKED JOSH IF HE "WO)JLD BE WILLING TO SPEAK WITH
            ME IN REGARDS TO AN ONGOING SHERIFF'S OFFft:~~f?J:NVESTIGATION AND HE AGREED TO
            DO THIS.   I TOLD JOSH THAT HE WAS NOT REQUIRED JO BE SUBJECT TO THIS
            INTERVIEW AND IF HE DECIDED TO CONDUCT THE INTERVIEW HE COULD TERMINATE THE
            INTERVIEW AT ANY TIME. PRIOR TO GOING ON TAPE, :I ONLY ASKED JOSH BUNNER
            ABOUT .HIS FRIEND KEVIN AND ABOUT ANY TYPE OF HOBBIES THAT HE AND THOMSPON
            ENGAGE IN TOGETHER.
                 AT 3:48PM, I INITIATED A TAPED INTERVIEW WITH JOSH BUNNER INSIDE OF
            MY UNMARKED VEHICLE PARKED IN THE FRONT OF BUNNER'S RESIDENCE AT 15396
            SANDIEGO DR .. AGAIN, I TOLD JOSH THAT HE COULD TERMINATE THE INTERVIEW ANY
            TIME THA~.HE WANTED TO AND GO BACK INSIDE OF HIS HOUSE. ·\ rOS_H SAID THAT
            HE UNDERSTOOD T~IS.


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  CASE NO . 98041883           SUPPLEMENT   6      0 F FiE N S E R E P O R T                   CASE NO. 980..41883
                                                                              DISPOSITION : OPEN

                     JOSH TOLD ME THAT HE HAS KNOWN KEVIN,•. THOMPSON FOR ABOUT TWO YEARS.
              I ASKED BUNNER IF HE KNEW A GIRL BY THE NAME 0
              CONFIRMED THAT HE DID.        I ASKED BUNNER HOW HE<
            ' THAT, HE KNEW HER AS A FRIEND AND HE WENT ON TO SAY THAT THEY (BUNNER AND
              KEVJ:N \ THOMPSON) TOOK HER OUT DRINKING.
                     I TOLD BUNNER THAT illiilll{~ttfl
                                                     HAD MADE ALLEGATIONS THAT SEXUAL ACTIVITY
              OCCURR]j:D BETWEEN SHE, BUNNER AND THOMPSON AND THAT THIS .<SEXUAL ACTIVITY
              WAS NOT CONSENSUAL ON HER PART AND JOSH BUNNER REPLIED ' "THAT'S NOT TRUE".
              I ASKED HIM ,IF IT WAS CONSENSUAL AND HE REPLIED "YES".
                     BUNNEF/ WENT ON TO TELL ME THAT THEY WERE DRINKING BEERS IN A WOODED
              AREA IN LO~TCHEE CALLED THE WHOOPTIES .             JOSH INITI~L; SAID / !'HAT - • ~
              ROBBERT$ HADt; TW9 •OR THREE BEERS.     JOSH ALSO SAID THAT       e!:':~1WAS PLAYING
              LIKE SHE WAS G9ING TO GO TO SLEEP WHILE THEY WERE IN THE WOODS'; .
                     I ASKED JOSH ..:BUNNER TO TELL ME EXACTLY WHAT HAPPENED THAT NIGHT AND
              HE SAID "WE HAD SEX ':. BASICALLY" .   I ASKED JOSH WHO HE MEANT BY SA)l:i:NG 'WE
              HAD SEX AND HE REPLIED "ALL OF US", REFERRING TO JOSH, KEVIN THOMPSbN AND
            l:f.iilill! -         ·    I ASKED JOSH WHERE THIS HAPPENED AND HE REPLIED "IN . '
              THE CAR".
                     I ASKED JOSH BUNNER ABOUT HIS SEXUAL ENCOUNTER WITH             f - IJilll!.;i .
              AND HE SAID "IT JUST HAPPENED, ., LIKE THAT, IT'S NOT SOMETHING YOU PLAN FOR".
              I ASKED BUNNER IF HE USED ANY",PROTECTION AND HE SAID THEY USED A CONDOM.
              I ASKED BUNNER IF HE OR KEVIN      .WAS 'l'HE FIRST ONE TO HAVE SEX WITH            lfJ,ji~\1'11
              AND HE SAID "THAT WOULD PROBABLY_,J 3E ME" .
                     I ASKED BUNNER HOW THE SEXUAL ACTIVITY GOT STARTED AND HE REPLIED
               "SHE WAS DRINKING AND SHE WAS ABOUT TO.<,PASS OUT AND I SAID YOU CAN'T GO
              TO SLEEP, WE• RE STILL DRINKING BEERS/! : \1osH SAID -             REPLIED II I , M
              GOING TO GO TO SLEEP" AND HE SAID "NO'f-<:. YOU CAN'T GO TO SLEEP" .       JOSH SAID
              THATP.i,_           SAID TO HIM SOMETHING TO Tf~E( EFFECT OF WHY DON'T YOU KEEP ME
              AWAKE.                                           :i  /'
                     I ASKED BUNNER IF THEY WERE ABLE TO KEEP        ~,;:s::wF]
                                                                             AWAKE AND HE SAID
                    WAS AN INCENTIVE AT THE TIME, YOU KNOW WHAT I'M SAYING, IF YOU WERE IN
                    SAME POSITION".      I ASKED BUNNER IF THERE WAS ANY TALK PRIOR TO THE
              ACTUAL SEXUAL ACTIVITY ABOUT THEM HAVING SEXUAL RELATIONS AND HE SAID THERE
              WAS · NOT ANY TALK OF THAT.      I ASKED BUNNER TO TELL .ME .EXACTLY WHAT HAPPENED
              ABOUT HE · AND ~ HAVING SEX AND HE SAID "WE WERE HAVING INTERCOURSE
              BASICALLY" .       I ASKED HIM WHERE THAT WAS AND HE REPLIED '"IN KEVIN'S CAR,
               IN THE FRONT SEAT II •
                     I ASl_CEp , BUNNER HOW THEY WERE POSITIONED AND HE SAID IT WAS HARD TO
              DESCRIBE . 'HE SAID THAT KEVIN WAS IN THE DRIVER'S SEAT AND THAT · HE WAS
               IN THE PASSENGE,R SEAT AND THAT SHE <BIIIII> WAS IN THE MIDDLE. ' I ASKED
               BUNNER HOW HE WAS ABLE TO HAVE INTERCOURSE WITH          g:}f.:~::t
                                                                               IN THAT ' POSITION



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                                                                                  DISPOSITION : OPEN

                AND HE SAID "LEANING OVER THE FRONT SEAT". ,,,, ,AT THIS POINT, KEVIN ASKED
                   T THIS (INTERVIEW) WAS ABOUT BEFORE WE CARRIED ON ANY FURTHER.                              I TOLD HIM
                 HAT fi;, ,,, <;l;i}l!N MADE A REPORT THAT HE AND KEVIN · }W?ED HER AND I EXPLAINED I
                  S .ATTEMPTING TO GET THE STATEMENTS FROM HE                       IN AS TO EXACTLY WHAT
                HAPPENED.           AT THAT POINT, KEVIN TOLD ME THAT                   S SLEPT AROUND.
                     • I ASKED BUNNER IF SHE (iJ!/£~;;/,,11) HAD CLOTHES             AND HE SAID SHE HAD
                PANTS~ A SHIRT ON.                I ASKED HIM HOW HE WAS ABLE TO HAVE SEXUAL INTERCOURSE
                WITH HER WITH HER CLOTHES ON AND HE SAID THAT SHE TOOK THEM OFF .                             JOSH
                INDICATED i,.THAT   l1illlllil     WAS ON TOP OF HIM AT ONE POINT DURING THE SEXUAL
                INTERCOURSE\,.' I ASKED JOSH BUNNER WHAT KEVIN THOMPSON WAS i D\)ING AT THAT
                POINT AND HE SAID "WATCHING".             JOSH WENT ON TO TELL ME THAT "AT>NO POINT
                DID I HEAR No ·, '< I ~ GUESS THAT'S THE IMPORTANT THING" .                     ,.f~?/:>\.-r:
                       I ASKED <JOSH B,t1NNER WHAT HE WITNESSED BETWEEN KEVIN AND - - AND
                HE SAID "THEY PRO,CE]j:DED TO HAVE INTERCOURSE, I GUESS SHE DIDN'T LJ;KE IT WITH
                KEVINSO THAT STOPPED PRETTY QUICKLY".                I ASKED JOSH IF       tr•~-         TOLD, KEVIN
                                               RE    ED SHE DID NOT .      I ASKED JOSH WHAT HE MEANT BY
                THE STATEMENT ABOUT                     STOPPING THE SEX QUICKLY WITH KEVIN AND HE •
                REPLIED "I GUESS SHE                 HIM THE IMPRESSION THAT SHE DID NOT WANT TO HAVE
                INTERCOURSE WITH HIM, BUT..SHE NEVER SAID NO, THAT'S THE MAIN THING THAT
                MATTERS.           I NEVER HEARD NO OUT , OF HER MOUTH" .      I ASKED JOSH HOW KEVIN AND
                - - ENDED UP HAVING SEXUAL' INTERCOURSE AND HE REPLIED "I GUESS I JUST
                FINISHED AND THEY PROCEEDED".                 ,;,
                       I ASKED JOSH BUNNER HOW KEVIN AND             l1illlllil WERE POSITIONED AND HE SAID
                "AT ONE POINT , I GUESS -                  WAS    FACING HIM, BUT THEN THEY WERE ON THE
                SEAT AND THEY WERE AT AN ANGLE TOWARDS; <.THE STEERING WHEEL I GUESS" .
                       I ASKED JOSH IF KEVIN THOMPSON FORCED INTERCOURSE ON                    ill/!1111       AND HE
                REPLIED "NO" .           I ASKED HIM IF HE WAS '$URE AND HOW HE KNEW THAT AND HE SAID
                "BECAUSE ONCE SHE GAVE UP, HE DION' T WANT/•~ORE TO DO WITH IT , HE KNEW
                THAT SHE DION' T WANT HIM" .                           '•:  /i
                       I ASKED JOSH IF      IIE:~•       HAD SEX WITH!' Hl!l AND KEVIN AT THE SAME TIME
                     HE SAID "NO".           I ASKED JOSH IF HE SAW KEVIN .·'AND ~:;:,-~.,,:•,:; HAVING ORAL
                     AND HE SAID "NO".            I ASKED JOSH WHAT HIS DEFINITION OF SEXUAL INTERCOURSE
                WAS AND HE SAID "PENIS FLOWING THROUGH THE VAGINA". . I . ASKED JOSH WHAT HIS
                DEFINITION OF ORAL SEX WOULD BE AND HE SAID " CARESSING . PRIVATE PARTS".
                I TOLD ~OSH WHEN I USED THE TERM ORAL SEX THAT I MEAN IN REGARDS TO A FEMALE
                WOULD. BE HER PUTTING HER MOUTH ON A PENIS AND IN REGARDS TO A MALE IT WOULD
                BE HIM PUTTING HIS MOUTH ON A VAGINA .               I ASKED HIM IF HE UNDERSTOOD THAT AND
                HE SAID THA;r' HE DID . I ASKED JOSH IF ~ - - , PERFORMED ORAL;:SEX ON KEVIN AND
                HE REPLIED "NO" .           I ASKED JOSH IF KEVIN PERFORMED ORAL SEX ON                 miWJfJ;J1  AND
                HE REPLIED "NO i1 • ,,, , I ASKED JOSH IF     l1illlllil   PERFORMED ORAL SEX; ON HIM AND HE
                REPLIED "NO" .           I ASKED JOSH IF HE PERFORMED ORAL SEX ON           !,'::]$:~111~1  AND HE



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      NO . 98041883        SUPPLEMENT 6            0 F FE NS E REPORT                 CASE NO. 980,~ 1883
                                                                      DISPOSITION: OPEN

           REPLIED NO .
                    I WENT OFF TAPE AT 4:06PM TO LOOK OVER THE .REPORT.                       I WENT BACK ON TAPE
                4:09PM AND I DID NOT ASK JOSHBUNNER ANY QUESTIONS OFF TAPE AND WHEN
                WERE BACK ON TAPE I ASKED HIM IF THIS WAS TRb:\f AND HE CONFIRMED THAT NO
           Q~l;lTIONS WERE ASKED OFF TAPE.                         I ALSO RE-CONFIRMED/ WITH JOSH BUNNER THAT HE
           COULD TERMINATE THE INTERVIEW AT ANY TIME.
                    I ASKED JOSH BUNNER IF HE REMEMBERED HE AND KEVIN fICKING UP ~
           flt,~!fl~- AT ,-1:IER BOYFRIEND ' S HOUSE AND HE DID NOT REMEMBER . I _ASKED JOSH IF HE
           SAID EARLIERi IN THIS INTERVIEW THAT VIRGININA ALMOST PASSED 'SJUT AND HE SAID
           "NO, SHE !:         ACTING LIKE SHE WAS GOING TO GO TO SLEEP".                     I AS KED JOSH BUNNER
           IF  fllll11BI•    r;.: tikriil~ APPEARED INTOXICATED AND HE sAID nyi;:s, :i: G~s~ so" .
           I AGAIN AsKEq :"$-q"s 'ii' ' IF HE REMEMBERED HOW MANY BEERS !~~~➔!.illl HAD<AND HE REPLIED
           NO.      I ALSO ASKED JOSH IF HE KNEW HOW OLD                                WAS AND HE REPLIED NO. I
           ASKED JOSH IF HE HAD ANY RECOLLECTION IF                                    WAS ON HER PERIOD ;AND HE
           SAID HE HAD NO RECO!.LECTION.
                     I ASKED JOSH BUNNER '· HOW MANY TIMES HE HAD SEXUAL INTERCOURSE                        H ·,.
           r~r:;1111 liti;,~·.:;;i~  AND Hf ,;REPLIED "TWICE".               HE SAID ONE (ECNOUNTER) HAPPENti::>'
           IN THE FRONT SEAT AND ONE (ENCOUNTER) HAPPENED IN HIS ROOM AT HIS HOUSE
           AFTER THEY LEFT THE WOODED AREA .
                     JOSH BUNNER THEN SAID "MAY''-I,,_,,(;,,· ;,·-
                                                                     ASK WHAT THIS IS ABOUT".    I REMINDED
           JOSH THAT I HAD ANSWERED THAT ' QUESTION EARLIER AND I AGAIN WENT ON TO TELL
           HIM THAT - ~        .;.,~ -           REPORTED {,THAT SHE WAS RAPED BY HE AND KEVIN
           THOMPSON .       I ASKED JOSH IF HE REMEMBERED ME TELLING HIM THAT EARLIER IN
           THE INTERVIEW AND HE REPLIED "I REMEMBER NOW, I HAVE A BAD MEMORY".
                    AGAIN , I ASKED JOSH BUNNER IF HE:tHAD ANY MEMORY OF KEVIN FORCING
            SEXUAL INTERCOURSE ON       ~#JI                   AND HE SAID "NO, I WAS PRETTY INTOXICATED
           MYSELF, EVERYBODY WAS INTOXICATED". :(::ASKED JOSH IF KEVIN COULD HAVE
           FORCED INTERCOURSE ON - - AND HE SAID ,i3i CAN'T SAY YES AND I CAN'T
            SAY NO, I WAS OUT OF THE CAR SOME OF THE TIME' ' .
                     I TOLD JOSH THAT   Mi.~11                 REPORTED THAT TH,E:t RETURNED TO HIS HOUSE AND
                   SEXUAL INTERCOURSE IN HIS ROOM AND HE CONFIRMED THAT THIS WAS TRUE. I
              SKED JOSH HOW - - LEFT HIS RESIDENCE                   AND           ,HE SAID SHE WENT ON THE BUS
           WITH ''. HIS BROTHER.          I WENT OFF TAPE AT 4:07PM TO REVIEW MY REPORT.                  I WAS
           BicK, ON TAPE AT 4 : 18PM AND I ASKED JOSH ON TAPE IF 'r•D ASKED HIM ANY QUESTIONS
            OFF TAPE ·' AND HE REPLIED "NO SIR" .
                   I . TOLD JOSH BUNNER THAT    [/]!l&:'11              REPORTED THAT THEY •SMOKED POT AND THAT
            THEY SMOKED ONE OR TWO JOINTS AND I ASKED HIM IF HE REMEMBERED HOW MANY THEY
            SMOKED ANp ,, HE SAID "NO".          I ASKED HIM IF IT WOULD HAVE BEE:N _A T LEAST ONE
             (JOINT) AND HE REPLIED "I DON'T EVEN REMEMBER SMOKING POT".                           I ,TOLD JOSH
            BUNNER THAT 9l811■ SAID THAT THEY HAD SMOKED TWO JOINTS AND <iI ASKED IF
            HE REMEMBERE ' THAT AND HE SAID "NO" . JOSH MADE THE STATEMENT " I MAYBE



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                                                                                         RIG L §RADSHAW, SHER IFF


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                                                                DISPOSITION: OPEN

           REMEMBER SMOKING A BOWL, A PIPE". I ASKED JOSH IF THE BOWL OR PIPE HAD
           MARIJUANA IN IT AND HE REPLIED YES. I ASKED JOS       REMEMBERED IF KEVIN
           SMOKED ANY OF THE MARIJUANA AND HE REPLIED "I   URE HE DID". I ASKED JOSH
           IF THIS WAS BEFORE OR AFTER THE SEXUAL INTERCO    AND HE REPLIED "PROBABLY

                PRIOR TO ENDING THE INTERVIEW, I TRIED TO ASK JOSH SOME "CLEAN UP"
           QUESTIQ~S. I ASKED JOSH IF THE SEXUAL INTERCOURSE BETWEEN HE AND
           WAS FORCED;AND HE REPLIED NO. I ASKED HIM HOW MANY BEERS HE HAD THAT
           AND REPLIED ?'ABOUT EIGHT OR NINE". I ASKED JOSH IF HE REMEMBERED HOW LONG
           THEY WERE OUT IN THE WOODS AND HE REPLIED NO. I SAID THAT             INDICATED
           THEY WERE THE              FIVE HOURS. I ASKED JOSH IF THAT
           RIGHT AND HE       ED "NO, IT MIGHT HAVE BEEN AN HOUR OR TWO"
                AFTER T    INT VIEW, JOSH WENT INSIDE AND SPOKE TO HIS FA         JOSH'S
                                 NFORMED ME THAT HE WANTED TO CONTACT JOSH'S ATTORNEY.
           IN THE MEANTIME, I      PREVIOUSLY ASKED JOSH IF HE WOULD SHOW ME KEVIN
           THOMPSON'S HOUSE      HE AGREED TO DO THIS. JOSH'S FATHER DROVE WITH US AS
           WE DROVE TO THE ACREAGE/AREA OF ROYAL PALM BEACH WHERE JOSH IDENTIFIED
           12435 N. 52ND RD. AS BEING THE RESIDENCE OF KEVIN THOMPSON. AN INTERVIEW
           WILL BE CONDUCTED WITH KEVIN THOMSPON REGARDING THESE ALLEGATIONS. I
           AN AGREEMENT WITH RICK SAT~,<:I?HE ATTORNEY FOR JOSH BUNNER, THAT JOSH
           CAN TURN HIMSELF IN TO MYSELF.JI.T THE SHERIFF'S OFFICE ON MONDAY, 8-24-98
           AT 2:30PM. PENDING FURTHER FOLLOW UP INVESTIGATION, CASE WILL REMAIN
           CLASSIFIED AS OPEN.
           DET. ARNOLD/3553/RAMIREZ/4213/8-26~98




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                                                                                8FVU)SHAW, SHERIFF



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      NO. 98041883       SUPPLEMENT 7      0 F            SE REPORT                 CASE NO. 98041883
                                                                    DISPOSITION: CLEARED BY ARREST
                                                                       DIVISION: DETECTIVE
                                    C O N F I D E N          L

                    CRIME CODE:
                                *   NON CRIME CODE:
                                                      *                   *
                                                         CODE: 110A 08/25/98      WEDNESDAY
             D:        DEPUTY I.D.:    3553 NAME: ARNOLD BART                TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN DATE: 02/28/98 , 1630 HOURS AND DATE:              0000 HOURS
EXCEPTION TYPE:
INCIDENT LOCATION:                                             APT.
                                               STATE:          ZIP

NO. OFFENSES: 01 NO.<OFFENDERS: 02 NO. VEHICLES STOLEN: 0 NO. PREMISES ENTERED: 0
LOCATION: PARK/ WOODLANDS    FIELD
NO. VICTIMS: 01 NO. ARRE$      1 FORCED ENTRY: 0 WEAPON TYPE: HANDS/ F     / FEET

OFFENSE NO. 1   FLORIDA STATE          794 011        CIS CODE 110A


                 ON 08/24/98, AT 1430 HOURS, I MET WITH JOSHUA BUNNER IN THE LOBBY .PF
            THE SHERIFF'S OFFICE. JOSHUA BUNNER HAD COME TO TURN HIMSELF IN REGARDS
            TO PROBABLE CAUSE FOR HIS ARREST FOR A CHARGE OF LEWD ASSAULT UPON A
            UNDER 16 YEARS OF AGE. I TOOK;,JOSHUA UPSTAIRS WHERE PAPERWORK CONCERNING
            HIS ARREST WAS COMPLETED. JOSHUA WAS TRANSPORTED AND TURNED OVER TO THE
            PALM BEACH COUNTY JAIL.
                 CASE IS CLEARED BY ARREST, BJ]T STILL REMAINS UNDER INVESTIGATION
            CONCERNING SUSPECT KEVIN THOMPSON,
            DET. BART ARNOLD (3553) / JP    TRANS.,70.8/28/98




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                                                                                BRADSHAW, SHERIFF


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                       PALM BE AC H          COUNT<¥ SHER IF F' S OFFICE                PAGE    1
       NO. 98041883      SUPPLEMENT 8         0 FF/ENS E REPORT                 CASE NO. 98041883
                                                                DISPOSITION: CLEARED BY ARREST
                                                                   DIVISION: DETECTIVE
                                       C O N F I D E N   L
                                   *                      *                       *
                    CRIME CODE:     NON CRIME CODE:                                        WEDNESDAY
                       DEPUTY I.D.:    3553 NAME: ARNOLD                              TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN DATE: 02/28/98 , 1630 HOURS AND DATE:                            HOURS
EXCEPTION TYPE:
INCIDENT LOCATION:                                                    APT. NO.:
                                               STATE:                 ZIP:

NO. OFFENSES: 01 NO. FFENDERS: 02 NO. VEHICLES STOLEN: 0 NO. PREMISES ENTERED: 0
LOCATION: PARK/ WOODLANDS./ . FIELD
NO. VICTIMS: 01 NO. ARRESTED: 1 FORCED ENTRY: 0 WEAPON TYPE: HANDS/         FEET

OFFENSE NO. 1   FLORIDA STATE              794 011            CIS CODE 110A


                 ON 9-3-98, I WAS FINALLY ABLE TO MAKE CONTACT WITH KEVIN P. THOMPSQN
            IN REGARDS TO THIS INVESTIGATION.      I INFORMED KEVIN THAT I NEEDED TO
            SPEAK WITH HIM ABOUT A CRIMINAL INVESTIGATION AND ASKED HIM WHEN HE WOULD
            BE AVAILABLE TO COME TO THE SHERIFF'S OFFICE FOR AN INTERVIEW. THOMPSON
            INFORMED ME THAT HE WAS AVAILA;ILE ON THIS SAME DATE (9-3-98) AND WE
            AGREED TO MEET AT THE SHERIFF'.$ OFFICE AT 6:00PM.
                 I MET WITH KEVIN THOMPSON AND/HIS FATHER IN A CONFERENCE ROOM AT THE
            SHERIFF'S OFFICE AT APPROXIMATELY\6:00PM. I EXPLAINED TO MR. THOMPSON
            AND TO KEVIN THE ALLEGATIONS IN THIS .CASE CONCERNING THE FACT THAT
                      ['.,:"Ji:] WAS REPORTING THAT §HE HAD BEEN RAPED BY KEVIN THOMPSON
            AND JOSHUA BUNNER.      I ASKED KEVIN THOMPSON IF HE WOULD BE WILLING TO
            PROVIDE ME A STATEMENT IN REGARDS TO THESE ALLEGATIONS AND HE WAS AGREEABLE
            TO THIS. KEVIN'S FATHER, MR. THOMPSON WA$ JWSO IN AGREEMENT THAT KEVIN SHOULD
            PROVIDE A STATEMENT. MR. THOMPSON REQUESTED TO LEAVE THE BUILDING TO SMOKE
                !GARRETTE, DURING WHICH TIME I CONDUCTED A       ED INTERVIEW WITH KEVIN
              OMPSON.
                 PRIOR TO ASKING KEVIN THOMPSON THE FACTS CO CERNING THE ALLEGATIONS IN
            THIS)CASE, I READ HIM HIS MIRANDA RIGHTS AND HE CONFIRMED THAT HE UNDERSTOOD
            THOSE MIRANDA RIGHTS AND SIGNED A MIRANDA RIGHTS CARD. KEVIN THOMPSON
            ADMITTED THAT HE HAD ENGAGED IN SEXUAL RELATIONS WITH flflil!ilil'J!@llK lllifflfllllll ON
            OR ABOUT ~HE.DATE IN QUESTION AND THOMPSON ADMITTED THAT JOSHUA BUNNER
            WAS THERE ALSO. KEVIN THOMPSON INDICATED IN HIS INTERVIEW THAT THE
            SEXUAL ACTIVITY BETWEEN HE AND     111mr111111~111111
                                                                WAS CONSENSUAL               NOT


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                                                                 DISPOSITION: CLEARED BY ARREST

           FORCED AS REPORTED BY
                 ON OR ABOUT 9-14-98, I CONFERRED               IGHBORS CONCERNING HOW
             VIN THOMPSON WAS TO BE PROCESSED BASED            ACT THAT HE WAS NOW AN
             ULT, BUT THAT HE WAS A JUVENILE AT THE TIME        CRIME WAS COMMITTED.
           SGT\ NEIGHBORS INFORMED ME THAT THOMPSON SHOULD THEREFORE BE PROCESSED
           AS A JUVENILE.     I ASKED SGT. NEIGHBORS IF IT WAS PERMISSIBLE TO PROCESS
           THOMPSON AT THE JAIL AND THEN RELEASE HIM TO HIS FATHER.<AND SGT. NEIGHBORS
           INFORMED ME. THAT THIS WAS OKAY.
                 ON $"14.t-98, KEVIN THOMPSON WAS BROUGHT TO THE SHERIE'F' $/OFFICE BY HIS
           FATHER AND . ALSO ATTORNEY MICHAEL SALNICK. I TOOK THOMPSON. TO THE JAIL
           WHERE HE WAS PHOTOGRAPHED AND PRINTED AND THEN RELEASED BACK TO)HIS FATHER'S
           CUSTODY. CASE REMAINS CLEARED BY ARREST.
                FOR VERBATIM STATEMENT OF KEVIN THOMPSON'S INTERVIEW, PLEASE           TO
           THE VIDEO TAPE ON.JF!LE IN THE SHERIFF'S OFFICE EVIDENCE ROOM.
           DET. ARNOLD/3553
           RAMIREZ/4213/9-30-98


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                                                                      RIC L. BFU\OSHAVV, SHERIFF


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       NO. 98041883      SUPPLEMENT 9      0 F        SE REPORT                  CASE NO. 98041883
                                                                 DISPOSITION: CLEARED BY ARREST
                                                                    DIVISION: DETECTIVE
911: N                               C O N F I D E N       L
SEXUAL BATTERY                  *                     *                 *
SIGNAL CODE/:       CRIME CODE:     NON CRIME CODE:                              WEDNESDAY
ZONE: B71 GRID:        DEPUTY I.D.:    3553 NAME: ARNOLD                    TIMED 1603 A 1618 C 1705
OCCURRED BETWEEN DATE: 02/28/98 , 1630 HOURS AND DATE:                  HOURS
EXCEPTION TYPE:
INCIDENT LOCATION:                                             APT.
                                               STATE:          ZIP

NO. OFFENSES: 01 NO.     NDERS: 02 NO. VEHICLES STOLEN: 0 NO.                          0
LOCATION: PARK / WOODLAND~(/; FIELD
NO. VICTIMS: 01 NO. ARRESTED: 1 FORCED ENTRY: 0 WEAPON TYPE: HANDS/             FEET

OFFENSE NO. 1   FLORIDA STATE          794 011        CI$ CODE 110A


                I RECEIVED A LETTER>FROM ASA TERESA BOWMAN CONCERNING THE FILING
            DISPOSITION ON THIS CASE. BOWMAN'S LETTER SAID THAT THIS CASE IS NO
            DUE TO THE VICTIM'S LACK OF CREDIBILITY AND NO SUBSTANTIAL LIKELIHOOD OF
            SUCCESS AT TRIAL. A COPY          LETTER HAS BEEN FORWARDED TO CENTRAL
            RECORDS.
            DET. ARNOLD/3553
            RAMIREZ/4213/12-8-98




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